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                                       September 4, 2024

VIA ECF
Hon. Analisa Torres
United States District Court Judge
Southern District of New York
500 Pearl Street
New York, NY 10007

Re:    SEC v. Ripple Labs, Inc. et al., No. 20-cv-10832 (AT)(SN) (S.D.N.Y.)

Dear Judge Torres:

        I write on behalf of Defendant Ripple Labs, Inc. (“Ripple”) to request a stay of the
monetary portion of the Court’s Judgment entered on August 7, 2024, as ECF No. 974. Plaintiff
Securities and Exchange Commission (the “SEC”) has consented to this request and to the terms
of the Proposed Order that Ripple is also submitting today. The monetary portion of the
Judgment is currently due to be paid this coming Friday, September 6, and Ripple respectfully
asks that this Court act on this stay request before that date.

        Federal Rule of Civil Procedure 62(b) states that “[a]t any time after a judgment is
entered, a party may obtain a stay by providing a bond or other security.” The current version of
the rule, as amended in 2018, “makes explicit the opportunity to post security in a form other
than a bond.” Fed. R. Civ. P. 62 committee note (2018 amendment).1 Here, Ripple and the SEC
have agreed to an alternative security proposal in which Ripple will place 111% of the judgment
amount (the “Fund”) in a bank account in the name of Ripple’s counsel Kellogg, Hansen, Todd,
Figel & Frederick P.L.L.C. (“Kellogg Hansen”). The terms to which the parties have agreed are
set forth in the Proposed Order and briefly summarized below for the Court’s convenience.

        Under the Proposed Order, the stay will last until 30 days after the time to appeal expires
or the resolution of any appeal. During that time, post-judgment interest will accrue in the SEC’s
favor as set forth in the Judgment. Ripple will retain beneficial ownership (but no control) of the
Fund and any interest that accrues by virtue of its deposit in the bank account. Kellogg Hansen
will be responsible for ensuring that the Fund remains in the account until released by mutual

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         The same amendment also made clear (by changing the former term “appellant” to
“party”) that Rule 62(b) authorizes a stay before a notice of appeal has been filed. See Fed. R.
Civ. P. 62 committee note (2018 amendment). Here, neither party has yet filed a notice of
appeal, and the time to do so expires 60 days after the judgment. See 28 U.S.C. § 2107(b); Fed.
R. App. P. 4(a)(1)(B). The Judgment becomes enforceable, however, 30 days after entry.
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consent of the parties or by order of the Court, but will have no other duties (fiduciary or
otherwise) to the SEC.

        The parties’ intent is that the Fund should be released only when used (by consent or by
further order of this Court) to satisfy the monetary portion of the Judgment, when Ripple satisfies
the monetary portion of the Judgment through other means, or when the Judgment is reversed.
Should the court of appeals vacate or modify the Judgment, the parties will attempt in good faith
to reach agreement about the appropriate treatment of the Fund and will submit to the Court any
disputes that they cannot resolve.2

       The consent request protects the interest of the SEC in ensuring that funds will be
available to pay the Judgment and the interest of Ripple in avoiding the unnecessary expense and
inconvenience of a supersedeas bond in the amount required for the Judgment. It will not
adversely affect the interest of any third party or the public. Accordingly, Ripple respectfully
requests that the Court approve and issue the Proposed Order.


Respectfully submitted,

/s/ Michael K. Kellogg
Michael K. Kellogg

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        Ripple has reserved its right to seek, and the SEC has reserved its right to oppose, an
extension of the stay such as an extension pending rehearing, rehearing en banc or certiorari.
